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                 FINANCIAL RECOVERY SERVICES. INC.,
               8 d/b/a FINANCIAL RECOVERY STRATEGIES
               9
              10                          UNITED STATES DISTRICT COURT
              11                        NORTHERN DISTRICT OF CALIFORNIA
              12                                 OAKLAND DIVISION
              13
              14 IN RE CATHODE RAY TUBE (CRT)                Master File No. CV-07-5944-JST
                 ANTITRUST LITIGATION,                       MDL No. 1917
              15
                                                             CLASS ACTION
              16
                                                             REQUEST OF FINANCIAL
              17                                             RECOVERY STRATEGIES TO
                   This Document Relates to:                 CLARIFY ORDER GRANTING
              18                                             MOTION FOR PRELIMINARY
                                                             APPROVAL
              19 INDIRECT PURCHASER ACTIONS
                 FOR THE 22 STATES                           Re: ECF No. 5695
              20
                                                             Judge: Hon. Jon S. Tigar
              21                                             Hearing Date: To Be Determined on the
                                                                           Papers
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                                                                                 Case No.: CV-07-5944-JST
                     REQUEST OF FINANCIAL RECOVERY STRATEGIES TO CLARIFY ORDER GRANTING MOTION FOR
[3510935.3]                                      PRELIMINARY APPROVAL
                     Case 4:07-cv-05944-JST Document 5696 Filed 03/13/20 Page 2 of 3




               1          Financial Recovery Services, Inc. d/b/a Financial Recovery Strategies (“FRS”)
               2 respectfully requests that the Court clarify the Order Granting Motion for Preliminary
               3 Approval (the “PAO”) issued on March 11, 2020. See ECF No. 5695. As discussed more
               4 fully in the briefs filed by FRS, Spectrum Settlement Recovery, LLC and Crowell &
               5 Moring LLP in October 2019 regarding the treatment of claims filed after the December 7,
               6 2015 filing deadline (“Late Claims”), see ECF Nos. 5588, 5608, 5609 and 5618, if the
               7 Court does not address the Late Claims issue now, the eventual distribution of the
               8 settlements will be further delayed while litigation continues regarding the treatment of
               9 Late Claims.
              10          As the Court recognized, Rule 23(e)(2)(C)(i) requires the Court to consider
              11 “whether the Settlement ‘improperly grant[s] preferential treatment to class representatives
              12 or segments of the class.’” PAO at 16-17 (quoting In re Tableware Antitrust Litig., 484 F.
              13 Supp.2d 1078, 1079 (N.D. Cal. 2007). Given that more than four years have now passed
              14 since the December 2015 claims filing deadline and that the delay in the distribution was
              15 not caused by Late Claims, the Court, to ensure the equitable treatment of all claimants in
              16 the 22 states who were harmed in the same way by Defendants’ practices, should order
              17 either (a) that all claims filed as of the date of the PAO shall be considered timely and, if
              18 otherwise eligible, included in the distribution; or (b) if the Court is so inclined, all
              19 otherwise eligible claims filed by a new deadline set by the Court – for example, July 8,
              20 2020, the date scheduled for Final Approval Hearing – shall be considered timely and be
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                                                                                 Case No.: CV-07-5944-JST
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[3510935.3]                                      PRELIMINARY APPROVAL
                    Case 4:07-cv-05944-JST Document 5696 Filed 03/13/20 Page 3 of 3




               1 included in the distribution. Absent that clarification, the PAO could otherwise arbitrarily
               2 deny compensation for thousands of claimants whose claims have been processed over
               3 these last four-plus years.
               4
               5 DATED: March 13, 2020                   Respectfully submitted,
               6                                         ROSEN BIEN GALVAN & GRUNFELD LLP
               7
               8                                         By: /s/ Jeffrey L. Bornstein
               9                                             Jeffrey L. Bornstein

              10                                         Attorneys for
                                                         FINANCIAL RECOVERY SERVICES. INC., d/b/a
              11                                         FINANCIAL RECOVERY STRATEGIES
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                     REQUEST OF FINANCIAL RECOVERY STRATEGIES TO CLARIFY ORDER GRANTING MOTION FOR
[3510935.3]                                      PRELIMINARY APPROVAL
